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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

PHYLLIS CARSON; LORNE                        )
COSMAN; WILLIAM DRAPER;                      )
PHILLIP ERICKSON; SCOTT                      )      C.A. No. 22-208-CFC
EVANS; TERENCE GRANER;                       )
DONALD HARMAN; SARAH                         )
HOUSEHOLDER; TRUDY L.                        )
GRANER; TRUDY LETSON; SABINE                 )
MILLER; DIANA HOBERT-POWELL;                 )
JANET PURVIS; PATRICIA                       )
ROBERTS; CAROLE SCHAUER;                     )
CARA WASHINGTON; STEPHEN                     )
KAPLITT; DEBORAH THELEN                      )
individually and on behalf of all others     )
similarly situated,                          )
                                             )
                   Plaintiffs,               )
                                             )
         v.                                  )
                                             )
HP INC.,                                     )
                                             )
                   Defendant.                )

    HP INC.’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS
     MOTION TO DISMISS AND TO STRIKE CLASS ALLEGATIONS

         Pursuant to Federal Rule of Evidence 201, HP requests that this Court take

judicial notice of the HP Limited Warranty, which is attached hereto as Exhibit A,

in the Court’s consideration of HP’s Motion to Dismiss and to Strike the Class

Allegations in Plaintiffs’ First Amended Complaint (“FAC”).

         Documents referenced in a complaint are the proper subject of judicial notice,

even if those documents are not attached to the complaint. In re Burlington Coat


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Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997); see also Webb v. Volvo Cars

of N.A., LLC, 2018 WL 1470470, at *9 n.9 (E.D. Pa. Mar. 26, 2018) (taking judicial

notice of defendant’s warranty terms).

         Here, the HP Limited Warranty is integral to and repeatedly referenced in the

FAC. See FAC ¶¶ 19, 20, 65 (quoting HP Limited Warranty), 208, 400, 427, n.12

(linking to HP website displaying HP Limited Warranty), n.13 (same). Exhibit A is

identical to the versions linked in footnotes 12 and 13 of the FAC.

         Accordingly, this Court should take judicial notice of Exhibit A.


                                                 /s/ Kelly E. Farnan
                                                 Kelly E. Farnan (#4395)
Of Counsel:                                      Richards, Layton & Finger, P.A.
                                                 One Rodney Square
Michael J. Stortz                                920 N. King Street
Marshall L. Baker                                Wilmington, DE 19801
Akin Gump Strauss Hauer & Feld LLP               (302) 651-7700
580 California Street, Suite 1500                farnan@rlf.com
San Francisco, CA 94104
(415) 765-9500                                   Attorneys for Defendant HP Inc.
mstortz@akingump.com
mbaker@akingump.com

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